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 1                   IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
 2                              TAMPA DIVISION
 3
 4   UNITED STATES OF AMERICA,              )
                                            )
 5                    Plaintiff,            )
                                            )
 6                                          ) Case No.
               vs.                          ) 8:03-CR-00077-T-36JSS-1
 7                                          )
                                            )
 8   SAMI AMIN AL-ARIAN,                    )
                                            )
 9                    Defendant.            )
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     ____________________________________________________________
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                                MOTION HEARING
13                   BEFORE THE HONORABLE JULIE S. SNEED
                        UNITED STATES MAGISTRATE JUDGE
14
                           NOVEMBER 18, 2016
15                            10:02 A.M.
                            TAMPA, FLORIDA
16   ____________________________________________________________
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21             Proceedings transcribed via courtroom digital
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22   transcription.
     ____________________________________________________________
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                          DAVID J. COLLIER, RMR, CRR
24                     FEDERAL OFFICIAL COURT REPORTER
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25                         TAMPA, FLORIDA  33602
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 2
 3   For the Government:                Robert Mosakowski
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 1                           P R O C E E D I N G S
 2                               - - - o0o - - -
 3               THE COURT:     Good morning, everyone.         We're here in
 4   the case of United States versus Sami Amin Al-Arian, and
 5   it's Case 8:03-CR-77.        We're here -- let me actually get the
 6   lawyers to put your appearances on the record.
 7               MR. MOSAKOWSKI:       Good morning, Your Honor.
 8   Assistant United States Attorney Bob Mosakowski and
 9   Walter Furr for the United States.
10               THE CLERK:     Good morning to both of you.
11               MR. SWIFT:     Good morning, Your Honor.
12   Charles Swift on behalf of Mr. Al-Arian.
13               THE COURT:     Good morning to you, Mr. Swift.
14               MR. SWIFT:     Thank you.
15               THE COURT:     Now, we are here on a continued
16   hearing, and I'd asked the Government to brief the issue
17   further related to the retention of documents and the
18   Government has done so and, Mr. Swift, you have submitted a
19   reply which I've received --
20               MR. SWIFT:     Yes, ma'am.
21               THE COURT:     -- on behalf of Mr. Al-Arian, so
22   I would like to, if we could, have the Government make any
23   additional arguments that it would like related to the legal
24   basis for retaining the property, and then I'll give a
25   chance to reply.
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 1               MR. MOSAKOWSKI:       Your Honor, just to reiterate, we
 2   still have an indicted case with five individuals that are
 3   fugitives, three of them charged in the same conspiracy to
 4   which Mr. Al-Arian pled guilty.          Criminal proceedings in
 5   this case have not finished, that's the first step, it's
 6   still ongoing.      Individuals are -- several of them are high
 7   value targets, let's put it that way, and it's a situation
 8   that the United States Government would prosecute should we
 9   get them into custody.
10               Under the circumstances, the documents have
11   evidentiary value and we need them, and I don't believe
12   we're at the stage yet where the burden shifts, we're still
13   with -- criminal proceedings have not abated at this point.
14               THE COURT:     All right.     And you received that
15   response from Mr. Al-Arian's counsel, Mr. Swift.              Do you
16   have any additional comments related to his comments in that
17   pleading?
18               MR. MOSAKOWSKI:       Well, generally, Your Honor, A,
19   we are taking steps to recover these individuals.               I'd
20   rather not go into great detail on the record about some of
21   this, some of the steps the Government has taken are
22   classified, but I can represent to the Court that the
23   United States is interested and has attempted to obtain the
24   presence of these individuals.
25               With regard to the second aspect of certain
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 1   documents at the school that -- I can say that the documents
 2   that were found in Mr. Al-Arian's office, the Government
 3   is -- as far as our production, I'm pretty sure he's going
 4   to get almost all of them back, if not all of them.
 5               With regard to the other documents found in the
 6   school, I believe that the argument from Mr. Swift --
 7   I think he takes an expansive view on the phrase
 8   "possessory interest."        The cases he cites -- we have an
 9   unpublished Pennsylvania District Court case.              The cases
10   they cite in that case for authority deal with search and
11   seizure and standing under the Fourth Amendment and not
12   Rule 41.
13               His argument basically is if I have a reasonable
14   expectation of privacy over an area then I'm entitled to get
15   all the property taken from there back under Rule 41.
16               If you take that to the furthest extent, you get a
17   situation where if Mr. Furr and I are roommates, he steals a
18   diamond, keeps it in our apartment, the Government comes in
19   and obtains it by search warrant, Mr. Furr is prosecuted,
20   the case is done, I go in and say, well, I had a reasonable
21   expectation of privacy, I'd like that jewel under Rule 41.
22   It doesn't work that way.         The case law -- there has to be a
23   possessory interest, it doesn't have to be exactly legal
24   title, but I believe it requires more than just to be having
25   an expectation of privacy over the area to be able to make
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 1   that claim.
 2               In this situation Mr. Al-Arian, according to
 3   Mr. Swift, used to be a Board member of the school, the
 4   school is still in existence, so he's coming in now and
 5   saying, I get those things because I used to be a
 6   Board member.      Under the circumstances, Your Honor, I don't
 7   believe he's entitled to that.
 8               As I said, this is still a little premature, I'm
 9   not sure it's ripe, because we're still going over these
10   documents, and it may be that we'll end up giving copies of
11   those records to him as well anyway.           At this point there is
12   a concern, we're talking about personnel records, PII.
13   The Court knows from taking guilty pleas in this that PII is
14   pretty valuable at this point and the Government is a little
15   concerned about just putting it out on the street.
16               Under all the circumstances, Your Honor, I don't
17   think -- as I said, Your Honor, I think this situation may
18   be resolved as far as the way things are going.              We made one
19   production since our telephonic hearing, we were supposed to
20   set -- provide information on I guess Wednesday, there was a
21   miscommunication, it's resolved, the second series of our
22   rolling production will be made Tuesday of next week, we
23   anticipate already making a production in December, and the
24   issue will certainly be narrowed.           I don't believe it's ripe
25   yet, and in any event it will be narrowed as we go along.
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 1                THE COURT:    And you contend it is not ripe
 2   because --
 3                MR. MOSAKOWSKI:      We may as well -- we may
 4   produce -- right now we're talking a voluminous amount of
 5   records, and we're turning records over.            It could very well
 6   be in two months or three months we're talking five records,
 7   20 records, I don't know at this point, Your Honor.               It may
 8   be we give them all of them or copies of them at that point,
 9   but I kind of think -- well, I suspect that at the very end
10   there will be an issue about his possessory interest in some
11   of those other documents found at the school for sure.
12                I believe they also asked for records obtained in
13   2007.    I believe we put in a footnote on page 4 of our
14   response that those records were to be returned to the
15   United States pursuant to court order in this case.
16                I don't know whether he -- the defendant --
17   whether Mr. Swift is still seeking those records, but we're
18   going to oppose that.        We're talking FISA recordings and
19   other documents that were to be returned to the
20   United States, we took them and we don't plan on giving
21   those back, but under the circumstances -- but I'm not sure
22   whether that's still part of the request from, I guess, the
23   defense or the movant in this case.
24                THE COURT:    Let me ask you, Mr. Mosakowski:
25   To some extent it sounds like you think that the motion
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 1   should be granted in part, in the sense that you are
 2   returning voluntarily on a rolling basis some of the
 3   documents --
 4               MR. MOSAKOWSKI:       Your Honor --
 5               THE COURT:     -- and that it should be denied in
 6   part because you think some of those documents that you need
 7   for potential prosecution you should be entitled to keep.
 8               MR. MOSAKOWSKI:       It's my understanding,
 9   Your Honor, that we were planning on returning documents and
10   then the Rule 41 was filed to sort of move us along.               There
11   was a delay or a gap while Mr. Furr was in trial.
12               Under the circumstances I think the motion should
13   be -- I under -- my recommendation is it be denied without
14   prejudice and in the next three or four months be brought
15   back and make a determination.          It very well could be moot
16   as to almost all the records.
17               THE COURT:     And I think, if I recall from the last
18   hearing that we had, you were mentioning that there was a
19   rolling production and that you were producing those
20   documents and that you -- the timeline that you anticipated
21   finishing that production, was it in 2017; is that correct?
22               MR. MOSAKOWSKI:       Yes, ma'am.     Once again, it's
23   November now, we're doing the second series of our
24   production, we'll do another series in December, but -- and
25   we're making a -- we're making very good progress,
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 1   Your Honor.
 2                THE COURT:    Now, are those the originals or are
 3   they copies?
 4                MR. MOSAKOWSKI:      Some originals, Your Honor.
 5   A lot of them are copies.
 6                THE COURT:    So you do --
 7                MR. MOSAKOWSKI:      Obviously we need to have the
 8   original -- the originals make it easier at trial should
 9   we -- or when and if we obtain the other defendants, the
10   fugitives.
11                THE COURT:    So you do intend to keep some of the
12   documents.
13                MR. MOSAKOWSKI:      Yes, ma'am.
14                THE COURT:    All right.     Okay.
15                Let me hear from Mr. Swift.
16                MR. SWIFT:    On December 7th -- and I looked this
17   up yesterday.      On December 7th, the day after the Al-Arian
18   trial ended in two thousand -- 11 years ago, the Government
19   said, and I quote, Your Honor, in the press, the Government
20   said:    We will determine whether to seek extradition of the
21   remaining defendants quickly.          11 years later and they have
22   done nothing.
23                What they are doing here is not so much giving
24   this Court reasons as excuses on the production of the
25   documents.     Mr. Al-Arian is entitled to have his documents
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 1   back.   As we set out in the case law, you know, there's a
 2   presumption on the criminal trial that they're going to use
 3   them.   They've used up that presumption.           We're 11 years
 4   from now, and they don't know -- I want the Court to think
 5   about this.     They've had the case for almost 15 years.            At
 6   11 years -- and they were investigating long before that.
 7   At 11 years after the close of the case they don't know
 8   which documents they need, they need to go through them.
 9   That's not the idea of a vigorous law enforcement, that's
10   hoarders.
11               What they are doing in the process of this part is
12   continuing on it.      What we say to the Court -- and I'm
13   willing to take it on a rolling basis, quite frankly.
14   There's a ton.     The easiest for us would be to pick it all
15   up, but I'm willing to go if there were cooperation, and
16   I would point out to this Court that although the Government
17   would have you believe that somehow we were the
18   uncooperative parties here and we just jumped the gun
19   filing a lawsuit, we wrote to them repeatedly, repeatedly
20   asking, and it was only after not hearing for a year that we
21   filed the lawsuit.
22               So my part on the Government's position that this
23   should be dismissed, hardly, because my feeling is as soon
24   as it's dismissed the Government is done, at least based on
25   their past records on the part.
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 1                The other part is if the Government is going to
 2   withhold a document at this point, they need to give this
 3   Court more than a "well, we might need it in a prosecution"
 4   reason.    They need to set out for each document why they're
 5   withholding it specifically, why they're not turning over
 6   the documents.
 7                With regard to the possessory interest, I wrote a
 8   reply to this, the Government would have you believe -- they
 9   use a really bad analogy with the diamond ring.              Instead
10   they say, you know what, officials at a school, they
11   shouldn't be trusted with the Social Security information or
12   other information on their employees.           No.   No.    No.   No.
13   They should never have those.         So we, the Government, should
14   actually go in and blank those out, because they shouldn't
15   have them.     Because in that diamond ring example, nobody
16   should have the diamond ring, but for that example to hold
17   true on a possessory interest, then the officials at the
18   school should have no interest in these records.
19                Mr. Al-Arian was an official at that school.              The
20   easy thing for him is to obtain those records to return them
21   to the custodians of the school.
22                THE COURT:    He's not an official at that school
23   anymore; is that right?
24                MR. SWIFT:    That's true, Your Honor, but he's also
25   the only person with standing in this case.             So the
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 1   Government sits there and says, well, we'll hold -- they
 2   have made no effort -- I'm happy.          The Government agrees to
 3   return all the records to the school, we'll moot it out.
 4   I'm just trying to get them back for Mr. Al-Arian's school,
 5   a school that's still interested in having its records
 6   11 years later returned to it.         We set out in the part --
 7   we're happy with that, but in this process that somehow the
 8   Government sits there and says, yeah, we'll just hang onto
 9   the schools records ad infinitum -- makes no sense.
10               And I point out that under the case law
11   Mr. Al-Arian had a sufficient possessory interest at the
12   time that it's seized to seek its return.
13               Now, we're looking at -- we would point to the
14   Court that we're looking at the time of the seizure, and
15   we're going to return to that on the process, and certainly
16   he was an official there, he had them, they were seized at
17   his office, and other records at that school where he was
18   working as they related to him and to the persons who worked
19   with him.
20               So in that sense we believe that all of the
21   records are within the scope to be returned to Mr. Al-Arian.
22   We do not believe that the Government has given an
23   articulable basis which we view on the part here is -- they
24   have to do more than a broad part.          Otherwise, Your Honor,
25   if we permit this, here is what it becomes:             You're
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 1   acquitted.     You're acquitted of crime.        You're acquitted, no
 2   forfeitures are ordered, but the Government can hold your
 3   stuff forever, because it's always possible that someone
 4   else will be prosecuted.        It's always possible.        And in
 5   these type of cases the Government accomplishes a forfeiture
 6   order without a forfeiture.         At what point does it not
 7   become a forfeiture?       If the Court at this point denies the
 8   order, then is it not simply a forfeiture?            Because the
 9   Government will keep it the rest of his life.             It becomes a
10   de facto forfeit.
11                Thank you, Your Honor.
12                THE COURT:    Is there any opposition to the rolling
13   return that they've agreed to provide by 2017?
14                MR. SWIFT:    There is no opposition, Your Honor.
15   As I said, I'm fine with them turning it over on the period
16   of time.     What I don't want is this Court to approve their
17   ability to decide what they're going to turn over and what
18   they're not going to turn over.          If they don't want to turn
19   something over, I believe they need to come back here and
20   tell -- first off, tell us.         I'm a reasonable person, I feel
21   like.   If I understand it and I understand the rules that
22   they are -- if they truly need this document to potentially
23   pursue a prosecution, then I am not going to -- I'll explain
24   it to my client in the process and not proceed further and
25   waste the Court's time; but if I don't understand the reason
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 1   then perhaps I'm going to ask this Court to take a look at
 2   why they are withholding that document or series of
 3   documents.
 4                With regards to the FISA tapes, I agree those are
 5   the property of the United States, and if they were put into
 6   inventory logs or some part on it, inventoried, I don't
 7   believe that -- I agree that any tape that's -- the
 8   conversations that are seized as part of FISA then turned
 9   over as part of discovery are always returnable to the
10   Government and we don't seek the return.
11                THE COURT:    So if they're making a rolling basis,
12   return of the documents on a rolling basis, and you'd have
13   the documents by 2017, would you then know which documents,
14   if any, that you didn't have at that time?
15                MR. SWIFT:    We're keeping track of it.         We have a
16   list on the part.      Our part is -- and I would love to
17   address individual documents.         The Government at this point
18   has said they might turn over almost every document, so,
19   you know, it's -- yes is the answer.           I believe that -- I
20   would ask this Court to hold this motion -- my suggestion is
21   to hold this motion under advisement for a period of
22   six months with a status conference where we come back to
23   you and tell you at that time whether -- you know, given the
24   volume, I think we probably will finish in six months but we
25   might not all the way through, and I'm not going to rush in
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 1   here because they have five more boxes of documents they're
 2   going through.     I'm gratified they're going through them in
 3   the process.
 4               So what I would suggest to the Court is
 5   six months, a status conference, we re-meet on this motion,
 6   and at that point -- and we'll advise the Court if we still
 7   have continuing going on, we'll just postpone that, and then
 8   a determination as to whether -- when they've completed
 9   their rolling production, whether we, the plaintiffs,
10   believe -- or the defendants, the movants in this motion,
11   believe that the motion is moot, at which point if I do
12   I will withdraw, and if I don't I will continue, and I would
13   think that we would want to brief particularly on documents
14   or parts that are being withheld, because now we can have
15   more than a theoretical discussion on whether this is
16   necessary for a prosecution.
17               THE COURT:     Very well.     Thank you so much.
18               Mr. Mosakowski, anything additional?
19               MR. MOSAKOWSKI:      No, Your Honor.
20               THE COURT:     All right.     I'm going to take this
21   matter under advisement and I'll issue an order once I reach
22   a decision.     Thank you very much.
23                                  - - - - -
24                 (Proceedings concluded at 10:20 a.m.)
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 1                           C E R T I F I C A T E
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 3               This is to certify that the foregoing transcript
 4   of proceedings taken in a motion hearing in the United
 5   States District Court is a true and accurate transcript of
 6   the proceedings taken by me in machine shorthand and
 7   transcribed by computer under my supervision, this the 5th
 8   day of May, 2017.
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11                                                  /S/ DAVID J. COLLIER
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13                                                 DAVID J. COLLIER
14                                                 OFFICIAL COURT REPORTER
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